
388 U.S. 449 (1967)
BOOKS, INC.
v.
UNITED STATES.
No. 323.
Supreme Court of United States.
Decided June 12, 1967.
ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE FIRST CIRCUIT.
Stanley Fleishman for petitioner.
Solicitor General Marshall, Assistant Attorney General Vinson, Robert S. Erdahl and Marshall Tamor Golding for the United States.
PER CURIAM.
The petition for a writ of certiorari is granted and the judgment of the United States Court of Appeals for the First Circuit is reversed. Redrup v. New York, 386 U. S. 767.
THE CHIEF JUSTICE would grant the petition and set the case for oral argument.
MR. JUSTICE CLARK would grant the petition and affirm.
MR. JUSTICE HARLAN concurs in the reversal on the basis of the reasoning set forth in his opinions in Roth v. United States, 354 U. S. 476, 496, and Manual Enterprises, Inc. v. Day, 370 U. S. 478.
